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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


 STEVEN RAY WOOD,                          )
                                           )
                     Plaintiff,            )
                                           )
 -vs-                                      )      Case No. CIV-22-274-F
                                           )
                                           )
 ROWDY SWEET, et al.,
                                           )
                                           )
                     Defendants.
                                           )

                                      ORDER

        On April 25, 2022, United States Magistrate Judge Amanda Maxfield Green
issued a Report and Recommendation, finding that proper venue for plaintiff’s 42
U.S.C. § 1983 action does not lie in this district and recommending that the court
transfer the action, pursuant to 28 U.S.C. § 1406(a), to the Eastern District of
Arkansas, where the action could have been brought. Magistrate Judge Green
advised plaintiff of the right to file an objection to the Report and Recommendation
by May 16, 2022 and specifically advised that failure to make a timely objection to
the Report and Recommendation waives the right to appellate review of both factual
and legal issues therein contained.
        To date, no objection has been filed, and no request for an extension of time
to file an objection has been sought. With no objection being filed, the court accepts,
adopts, and affirms the Report and Recommendation in its entirety.
        Accordingly, the Report and Recommendation (doc. no. 6) issued by United
States Magistrate Judge Amanda Maxfield Green on April 25, 2022 is ACCEPTED,
ADOPTED, and AFFIRMED.
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        The above-entitled action is TRANSFERRED to the Eastern District of
Arkansas pursuant to 28 U.S.C. § 1406(a).
        IT IS SO ORDERED this 31st day of May, 2022.




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